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17
                                     UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
19                                        SAN FRANCISCO DIVISION

20                                                             Case No. 3:24-02531
     Jingna Zhang, et al.,
21
                   Individual and Representative Plaintiffs,
22           v.                                                PLAINTIFFS’ CERTIFICATION OF
23   Google LLC, a Delaware limited liability company; and     INTERESTED ENTITIES OR PERSONS
                                                               PURSUANT TO CIVIL L.R. 3-15
     Alphabet Inc., a Delaware corporation;
24
                                                 Defendants.
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     PLAINTIFFS’ CERTIFICATION OF INTERESTED ENTITIES OR PERSONS PURSUANT TO CIVIL L.R. 3-15
                  Case 3:24-cv-02531 Document 5 Filed 04/26/24 Page 2 of 2




 1          Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other than the

 2   named parties, there is no such interest to report.

 3   Dated: April 26, 2024                            By:          /s/ Joseph R. Saveri
                                                                    Joseph R. Saveri
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     PLAINTIFFS’ CERTIFICATION OF INTERESTED ENTITIES OR PERSONS PURSUANT TO CIVIL L.R. 3-15
